                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


 MON ETHOS PRO CONSULTING, LLC,
                        Plaintiff,

        v.
                                                       Civil Action No. 19-cv-11234-ADB
 RAYMONT EDMONDS,
                        Defendant.



     NOTICE OF WITHDRAWAL OF APPEARANCE OF MAUREEN DESIMONE

       Please withdraw the appearance of Maureen T. DeSimone, Esq., of Whitney Law Group,

LLC, as counsel for the defendant Raymont Edmonds in the above captioned matter. Going

forward, Mr. Edmonds will be represented by successor counsel, Theodore J. Folkman, Esq. (see

ECF Document #16).

                             Respectfully submitted,

                             RAYMONT EDMONDS,

                             By his attorneys:

                             /s/ Maureen T. DeSimone
                             ____________________________________
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                             Maureen T. DeSimone, Esq. (BBO # 703358)
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                              Lead Counsel for Defendant

Dated: May 21, 2020

                                 CERTIFICATE OF SERVICE

       I, Mark M. Whitney, counsel for Defendant Raymont Edmonds, do hereby certify that a

true and accurate copy of the foregoing document, which was filed via the Court’s ECF system

on May 21, 2020 will be sent electronically by the ECF system to the registered participants as

identified on the Notice of Electronic Filing (NEF) and that paper copies will be sent to those

indicated as non-registered participants.


                                                   /s/ Mark M. Whitney
                                                 Mark M. Whitney




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